               Case 3:18-cv-05577-JLR Document 29 Filed 09/18/20 Page 1 of 2




 1

 2

 3

 4

 5

 6                                                                  U.S. District Judge James L. Robart

 7

 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                     TACOMA DIVISION

10
      TAMMY LEE BRUEGMAN,                                      3:18-cv-05577-JLR
11      Plaintiff,

12    vs.

13    COMMISSIONER OF SOCIAL SECURITY,                         ORDER FOR ATTORNEY FEES
        Defendant.
14

15
             After considering Plaintiff's Motion, Plaintiff’s Motion is hereby granted as follows: Kevin
16
     Kerr is allowed an attorney’s fee under the Social Security Act, 42 U.S.C. § 406(b), in the amount
17
     of $7,560.00, out of which Plaintiff shall be refunded the $883.81 already received by counsel
18
     under the Equal Access to Justice Act. Any funds withheld by the Commissioner in anticipation
19
     of an order under Section 406(b), less an administrative assessment pursuant to 42 U.S.C. 406(d),
20
     may be paid to Schneider, Kerr & Robichaux, PO Box 14490, Portland, OR 97293, consistent with
21
     this order.
22
     Dated this 18th day of September, 2020.

                                            A
                                    _______________________________________________
                                    Honorable James L. Robart
                                    UNITED STATES DISTRICT JUDGE
              Case 3:18-cv-05577-JLR Document 29 Filed 09/18/20 Page 2 of 2




 1
     Presented by:
 2
     s/ Kevin Kerr
 3   KEVIN KERR, WSB #47715
     Schneider Kerr Law Offices
 4   PO Box 14490
     Portland, OR 97293
 5   (503) 255-9092
     kevinkerr@schneiderlaw.com
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
